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                                                    Assigned To: Magistrate Judge Meriweather, R
                                                    Assign. Date : 8/15/2022
                                                    Description: Complaint w/ Arrest Warrant

                                   STATEMENT OF FACTS

        Your affiant, Jonathan J. Alberta, is an FBI Task Force Officer assigned to the Phoenix
Field Office. In my duties as a Task Force Officer, I have worked many complex national security
and criminal investigations, to include investigations related to terrorism, espionage, weapons
violations, and child exploitation. Currently, I am tasked with investigating criminal activity in
and around the Capitol grounds on January 6, 2021. As a Task Force Officer with the FBI, I am
authorized by law, or by a Government agency, to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, S.E., in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        As a result of what occurred at the U.S. Capitol, Mayor Muriel Bowser declared a public
emergency in the District of Columbia and issued a district wide curfew commencing at 6:00 p.m.
on Wednesday January 6, 2021, and ending at 6:00 a.m. on Thursday January 7, 2021. Notification
of this curfew was sent electronically to numerous cell phones in the metropolitan area.

        After the curfew was in effect, Metropolitan Police Department (“MPD”) officers verbally
warned JOSHUA KNOWLES and the other people in the area where KNOWLES was standing,
that they were violating the curfew and needed to disperse. Three verbal warnings were given at
approximately 6:15 p.m. in the area of the 100 block of First St., N.W.

       At around the same time as MPD’s warnings, the United States Capitol Police were also
broadcasting on loop numerous warnings that the Capitol Grounds were closed to unauthorized
persons. The Capitol Police’s warnings were broadcast through audio amplification devices
throughout the U.S. Capitol Grounds. Officers who were present in the 100 block of First St, N.W.,
standing near defendant and the other individuals, clearly heard these warnings.

       Despite these directives to leave Capitol Grounds because they were closed, KNOWLES
and many of the other individuals present with KNOWLES did not leave. As such, KNOWLES
and other individuals in that location were arrested.

       Upon booking, MPD verified that the subject arrested was JOSHUA KNOWLES.
KNOWLES was charged with a curfew violation and unlawful entry. When MPD officers booked
KNOWLES upon arrest, he was wearing a red, white, and blue Trump 2020 beanie, a black and
blue plaid patterned flannel type shirt, a black sweatshirt, black rimmed glasses, black pants, and
red shoes, as depicted in Image 1.
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                              Image 1
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        The FBI later received tips from an informant that indicated KNOWLES was inside the
Capitol building on January 6, 2021. In response, your affiant obtained U.S. Capitol Police Closed
Circuit Television (CCTV) recordings from January 6, 2021. In a review of CCTV recordings of
the Capitol riot, your affiant observed a white male dressed in a red, white, and blue Trump 2020
beanie, a black and blue plaid patterned flannel type shirt, black sunglasses, carrying a red flag
with white lettering, entering the U.S. Capitol building on January 6, 2021, at approximately 3:13
p.m. Based upon your affiant’s observations, this person’s attire and physical characteristics
matched that of JOSHUA KNOWLES when he was arrested by MPD officers on January 6, 2021.

      Your affiant observed KNOWLES on CCTV recordings entering through the Senate Wing
Door,   as     shown      in  the  yellow   circle    in     Images     2     and    3.




                                                Image 2
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                                                Image 3

       Your affiant also reviewed open source video footage, which similarly showed a man
wearing the same attire and bearing the same physical resemblance as KNOWLES, walking
through the Capitol building amongst a mob of rioters on January 6, 2021, as depicted in Image 4.




                                            Image 4

        Your affiant reviewed KNOWLES’ Arizona driver’s license photograph and arrest
photograph from his arrest on January 6, 2021. Based upon this comparison, your affiant positively
identified the person on the CCTV recordings and open source video inside the Capitol building
as KNOWLES.
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       Finally, when KNOWLES was arrested, officers seized his cell phone and a search warrant
was obtained to examine the contents of his phone. A review of his phone records and activity
located several text messages between KNOWLES and his wife. Your affiant observed text
messages between KNOWLES and his wife discussing photographs of KNOWLES on January 6,
2021, that had been captured by various media sources. In the photographs and news articles
referenced, KNOWLES was wearing a red, white, and blue Trump 2020 beanie, a black and blue
plaid patterned flannel type shirt, a blue and white bandana around his neck, and black sunglasses.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
KNOWLES violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and
(2) knowingly, and with intent to impede or disrupt the orderly conduct of Government business
or official functions, engage in disorderly or disruptive conduct in, or within such proximity to,
any restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant also submits there is also probable cause to believe that KNOWLES violated
40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

                                                     Respectfully submitted,


                                                     _________________________________
                                                     Task Force Officer Jonathan J. Alberta
                                                     Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 15th day of August 2022.


                                                     ___________________________________
                                                     ROBIN M. MERIWEATHER
                                                     U.S. MAGISTRATE JUDGE
